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                                     : Corrects middle name, business name, adds timeshare



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Fill in this information to identify your case:

United States Bankruptcy Court for the:

CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)        2:19-bk-10187-VZ                                Chapter you are filing under:

                                                                               Chapter 7
                                                                               Chapter 11
                                                                               Chapter 12
                                                                               Chapter 13                                       Check if this an
                                                                                                                                  amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                               12/17
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.


Part 1:   Identify Yourself

                                   About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on     Christian
     your government-issued        First name                                                      First name
     picture identification (for
     example, your driver's        F.C.
     license or passport).         Middle name                                                     Middle name
     Bring your picture
     identification to your
                                   Gadbois
     meeting with the trustee.     Last name and Suffix (Sr., Jr., II, III)                        Last name and Suffix (Sr., Jr., II, III)




2.   All other names you have
     used in the last 8 years
     Include your married or
     maiden names.



3.   Only the last 4 digits of
     your Social Security
     number or federal             xxx-xx-0340
     Individual Taxpayer
     Identification number
     (ITIN)




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Debtor 1   Christian F.C. Gadbois                                                                     Case number (if known)     2:19-bk-10187-VZ




                                 About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names and
     Employer Identification
     Numbers (EIN) you have       I have not used any business name or EINs.                   I have not used any business name or EINs.
     used in the last 8 years
                                 AW SRT Helicopters, LLC
     Include trade names and     Business name(s)                                              Business name(s)
     doing business as names

                                 EINs                                                          EINs




5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                 22155 Canones Circle
                                 Santa Clarita, CA 91350
                                 Number, Street, City, State & ZIP Code                        Number, Street, City, State & ZIP Code

                                 Los Angeles
                                 County                                                        County

                                 If your mailing address is different from the one             If Debtor 2's mailing address is different from yours, fill it
                                 above, fill it in here. Note that the court will send any     in here. Note that the court will send any notices to this
                                 notices to you at this mailing address.                       mailing address.



                                 Number, P.O. Box, Street, City, State & ZIP Code              Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:                                                    Check one:
     this district to file for
     bankruptcy                        Over the last 180 days before filing this petition,           Over the last 180 days before filing this petition, I
                                        I have lived in this district longer than in any               have lived in this district longer than in any other
                                        other district.                                                district.

                                       I have another reason.                                        I have another reason.
                                        Explain. (See 28 U.S.C. § 1408.)                               Explain. (See 28 U.S.C. § 1408.)




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Debtor 1    Christian F.C. Gadbois                                                                       Case number (if known)    2:19-bk-10187-VZ


Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
     Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                              Chapter 7
                                  Chapter 11
                                  Chapter 12
                                    Chapter 13



8.   How you will pay the fee          I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                        about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                        order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                        a pre-printed address.
                                       I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                        The Filing Fee in Installments (Official Form 103A).
                                       I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                        but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                        applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
                                        the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for           No.
     bankruptcy within the
     last 8 years?                Yes.
                                                         Central District of
                                             District    California, LA Division When           9/17/17                Case number      2:17-bk-21322-VZ
                                                         Cent. Dist. of CA, Los
                                             District    Angeles Division              When     10/17/16               Case number      2:16-bk-24749-SK
                                             District                                  When                            Case number



10. Are any bankruptcy
    cases pending or being
                                  No
    filed by a spouse who is      Yes.
    not filing this case with
    you, or by a business
    partner, or by an
    affiliate?
                                             Debtor                                                                   Relationship to you
                                             District                                  When                           Case number, if known
                                             Debtor                                                                   Relationship to you
                                             District                                  When                           Case number, if known



11. Do you rent your              No.        Go to line 12.
    residence?
                                  Yes.       Has your landlord obtained an eviction judgment against you?

                                                       No. Go to line 12.

                                                       Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part of
                                                        this bankruptcy petition.




Official Form 101                            Voluntary Petition for Individuals Filing for Bankruptcy                                                    page 3
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Debtor 1    Christian F.C. Gadbois                                                                         Case number (if known)   2:19-bk-10187-VZ


Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time       No.       Go to Part 4.
    business?
                                    Yes.      Name and location of business
     A sole proprietorship is a
     business you operate as                   Name of business, if any
     an individual, and is not a
     separate legal entity such
     as a corporation,
     partnership, or LLC.
     If you have more than one                 Number, Street, City, State & ZIP Code
     sole proprietorship, use a
     separate sheet and attach
     it to this petition.                      Check the appropriate box to describe your business:
                                                      Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                      Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                      Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                      Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                      None of the above

13. Are you filing under           If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
    Chapter 11 of the              deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
    Bankruptcy Code and are        operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure
    you a small business           in 11 U.S.C. 1116(1)(B).
    debtor?
                                    No.       I am not filing under Chapter 11.
     For a definition of small
     business debtor, see 11
                                    No.       I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
     U.S.C. § 101(51D).
                                               Code.

                                    Yes.      I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy Code.


Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any
    property that poses or is
                                    No.
    alleged to pose a threat        Yes.
    of imminent and                          What is the hazard?
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs                      If immediate attention is
    immediate attention?                     needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,             Where is the property?
     or a building that needs
     urgent repairs?
                                                                           Number, Street, City, State & Zip Code




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 4
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Debtor 1    Christian F.C. Gadbois                                                                     Case number (if known)     2:19-bk-10187-VZ
Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling
                                     About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                           You must check one:
    you have received a               I received a briefing from an approved credit                I received a briefing from an approved credit
    briefing about credit                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                    completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
     credit counseling before            plan, if any, that you developed with the agency.             any, that you developed with the agency.
     you file for bankruptcy.
     You must truthfully check        I received a briefing from an approved credit                I received a briefing from an approved credit
     one of the following                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
     choices. If you cannot do           filed this bankruptcy petition, but I do not have             this bankruptcy petition, but I do not have a certificate
     so, you are not eligible to         a certificate of completion.                                  of completion.
     file.
                                         Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
     If you file anyway, the court       petition, you MUST file a copy of the certificate and         MUST file a copy of the certificate and payment plan, if
     can dismiss your case, you          payment plan, if any.                                         any.
     will lose whatever filing fee
     you paid, and your               I certify that I asked for credit counseling                 I certify that I asked for credit counseling services
     creditors can begin                 services from an approved agency, but was                     from an approved agency, but was unable to obtain
     collection activities again.        unable to obtain those services during the 7                  those services during the 7 days after I made my
                                         days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                         of the requirement.
                                                                                                       To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                         requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                         what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                         you were unable to obtain it before you filed for             circumstances required you to file this case.
                                         bankruptcy, and what exigent circumstances
                                         required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                       with your reasons for not receiving a briefing before you
                                         Your case may be dismissed if the court is                    filed for bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                         still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                         You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                         agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                         developed, if any. If you do not do so, your case
                                                                                                       Any extension of the 30-day deadline is granted only for
                                         may be dismissed.
                                                                                                       cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted
                                         only for cause and is limited to a maximum of 15
                                         days.
                                        I am not required to receive a briefing about              I am not required to receive a briefing about credit
                                         credit counseling because of:                                 counseling because of:

                                              Incapacity.                                              Incapacity.
                                               I have a mental illness or a mental deficiency               I have a mental illness or a mental deficiency that
                                               that makes me incapable of realizing or                      makes me incapable of realizing or making rational
                                               making rational decisions about finances.                    decisions about finances.

                                              Disability.                                              Disability.
                                               My physical disability causes me to be                       My physical disability causes me to be unable to
                                               unable to participate in a briefing in person,               participate in a briefing in person, by phone, or
                                               by phone, or through the internet, even after I              through the internet, even after I reasonably tried to
                                               reasonably tried to do so.                                   do so.

                                              Active duty.                                             Active duty.
                                               I am currently on active military duty in a                  I am currently on active military duty in a military
                                               military combat zone.                                        combat zone.
                                         If you believe you are not required to receive a              If you believe you are not required to receive a briefing
                                         briefing about credit counseling, you must file a             about credit counseling, you must file a motion for waiver
                                         motion for waiver credit counseling with the court.           of credit counseling with the court.




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 5
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Debtor 1   Christian F.C. Gadbois                                                                         Case number (if known)   2:19-bk-10187-VZ




For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
represented by one              under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
If you are not represented by   and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the
an attorney, you do not need    schedules filed with the petition is incorrect.
to file this page.
                                /s/ Michael F. Chekian, Esq. SBN                                   Date         January 9, 2019
                                Signature of Attorney for Debtor                                                MM / DD / YYYY

                                Michael F. Chekian, Esq. SBN 165026
                                Printed name

                                Chekian Law Office, Inc.
                                Firm name

                                11400 W. Olympic Blvd., #200
                                Los Angeles, CA 90064-1584
                                Number, Street, City, State & ZIP Code

                                Contact phone     (Voice) 310 390 5529                       Email address         (email) mike@cheklaw.com
                                165026 CA
                                Bar number & State




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 7
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                                                                          Main Document    Page 9 of 17
 Fill in this information to identify your case and this filing:

 Debtor 1                    Christian F.C. Gadbois
                             First Name                                 Middle Name                    Last Name

 Debtor 2
 (Spouse, if filing)         First Name                                 Middle Name                    Last Name


 United States Bankruptcy Court for the:                      CENTRAL DISTRICT OF CALIFORNIA

 Case number            2:19-bk-10187-VZ                                                                                                                        Check if this is an
                                                                                                                                                                 amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                          12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

    No. Go to Part 2.
    Yes.      Where is the property?




 1.1                                                                            What is the property? Check all that apply
        22155 Conones Circle
        Street address, if available, or other description
                                                                                      Single-family home                         Do not deduct secured claims or exemptions. Put
                                                                                                                                  the amount of any secured claims on Schedule D:
                                                                                       Duplex or multi-unit building
                                                                                                                                 Creditors Who Have Claims Secured by Property.
                                                                                       Condominium or cooperative
                                                                                  
                                                                                      Manufactured or mobile home
                                                                                                                                  Current value of the      Current value of the
        Santa Clarita                     CA        91350-0000                        Land                                       entire property?          portion you own?
        City                              State              ZIP Code                 Investment property                               $550,000.00                $550,000.00
                                                                                      Timeshare
                                                                                                                                  Describe the nature of your ownership interest
                                                                                      Other                                      (such as fee simple, tenancy by the entireties, or
                                                                                Who has an interest in the property? Check one    a life estate), if known.
                                                                                      Debtor 1 only                              Joint with wife
        Los Angeles                                                                   Debtor 2 only
        County                                                                        Debtor 1 and Debtor 2 only
                                                                                                                                       Check if this is community property
                                                                                      At least one of the debtors and another        (see instructions)

                                                                                Other information you wish to add about this item, such as local
                                                                                property identification number:

                                                                                Debtor's principal residence-payments are current




Official Form 106A/B                                                                  Schedule A/B: Property                                                                   page 1
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                                  Best Case Bankruptcy
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 Debtor 1        Christian F.C. Gadbois                                                                                    Case number (if known)          2:19-bk-10187-VZ

       If you own or have more than one, list here:
 1.2                                                                      What is the property? Check all that apply
       2285 Posada Court
       Street address, if available, or other description
                                                                                Single-family home                              Do not deduct secured claims or exemptions. Put
                                                                                                                                 the amount of any secured claims on Schedule D:
                                                                                 Duplex or multi-unit building
                                                                                                                                Creditors Who Have Claims Secured by Property.
                                                                                 Condominium or cooperative
                                                                            
                                                                                Manufactured or mobile home
                                                                                                                                 Current value of the          Current value of the
       Corona                            CA        92879-0000                   Land                                            entire property?              portion you own?
       City                              State              ZIP Code            Investment property                                    $430,000.00                   $430,000.00
                                                                                Timeshare
                                                                                                                                 Describe the nature of your ownership interest
                                                                                Other                                           (such as fee simple, tenancy by the entireties, or
                                                                          Who has an interest in the property? Check one         a life estate), if known.

                                                                                Debtor 1 only                                   Fee simple
       Riverside                                                                Debtor 2 only
       County                                                                   Debtor 1 and Debtor 2 only
                                                                                                                                      Check if this is community property
                                                                                At least one of the debtors and another
                                                                                                                                     (see instructions)

                                                                          Other information you wish to add about this item, such as local
                                                                          property identification number:
                                                                          Income property-vacant and trying to sell.


       If you own or have more than one, list here:
 1.3                                                                      What is the property? Check all that apply
       Grandview at Las Vegas                                                   Single-family home                              Do not deduct secured claims or exemptions. Put
       9940 So. Las Vegas Blvd.                                                                                                  the amount of any secured claims on Schedule D:
       Street address, if available, or other description
                                                                                Duplex or multi-unit building
                                                                                                                                 Creditors Who Have Claims Secured by Property.
                                                                                Condominium or cooperative

                                                                                Manufactured or mobile home
                                                                                                                                 Current value of the          Current value of the
       Las Vegas                         NV        89183-0000                   Land                                            entire property?              portion you own?
       City                              State              ZIP Code            Investment property                                           $500.00                      $500.00
                                                                                Timeshare
                                                                                                                                 Describe the nature of your ownership interest
                                                                                Other                                           (such as fee simple, tenancy by the entireties, or
                                                                          Who has an interest in the property? Check one         a life estate), if known.

                                                                                Debtor 1 only                                   Fee Simple
       Clark                                                                    Debtor 2 only
       County                                                                   Debtor 1 and Debtor 2 only
                                                                                At least one of the debtors and another
                                                                                                                                     Check if this is community property
                                                                                                                                      (see instructions)

                                                                          Other information you wish to add about this item, such as local
                                                                          property identification number:
                                                                          Paid timeshare


 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
    pages you have attached for Part 1. Write that number here...........................................................................=>                        $980,500.00

 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




Official Form 106A/B                                                         Schedule A/B: Property                                                                              page 2
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                                    Best Case Bankruptcy
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 Debtor 1        Christian F.C. Gadbois                                                                         Case number (if known)    2:19-bk-10187-VZ
3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

    No
    Yes

  3.1    Make:       Toyota                                                                                            Do not deduct secured claims or exemptions. Put
                                                               Who has an interest in the property? Check one
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:      Tundra                                     Debtor 1 only                                         Creditors Who Have Claims Secured by Property.
         Year:       2010                                       Debtor 2 only                                         Current value of the      Current value of the
         Approximate mileage:                 200000            Debtor 1 and Debtor 2 only                            entire property?          portion you own?
         Other information:                                     At least one of the debtors and another
        In average condition. It has dent
        in left rear quarter panel.                             Check if this is community property                          $10,000.00                  $10,000.00
                                                                     (see instructions)



  3.2    Make:       Chevy                                                                                             Do not deduct secured claims or exemptions. Put
                                                               Who has an interest in the property? Check one
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:      Tahoe                                      Debtor 1 only                                         Creditors Who Have Claims Secured by Property.
         Year:       2001                                       Debtor 2 only                                         Current value of the      Current value of the
         Approximate mileage:                 300000            Debtor 1 and Debtor 2 only                            entire property?          portion you own?
         Other information:                                     At least one of the debtors and another
        In poor condition. Scraped front
        bumper.                                                 Check if this is community property                              $500.00                     $500.00
                                                                     (see instructions)



  3.3    Make:       Mitsubishi                                                                                        Do not deduct secured claims or exemptions. Put
                                                               Who has an interest in the property? Check one
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:      Lancer                                     Debtor 1 only                                         Creditors Who Have Claims Secured by Property.
         Year:       2001                                       Debtor 2 only                                         Current value of the      Current value of the
         Approximate mileage:                 150000            Debtor 1 and Debtor 2 only                            entire property?          portion you own?
         Other information:                                     At least one of the debtors and another
        In poor condition. Paint faded.
                                                                Check if this is community property                              $500.00                     $500.00
                                                                     (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

    No
    Yes
  4.1    Make:       Scweizer                                  Who has an interest in the property? Check one
                                                                                                                       Do not deduct secured claims or exemptions. Put
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:      300c                                       Debtor 1 only                                         Creditors Who Have Claims Secured by Property.
         Year:       1980                                       Debtor 2 only                                         Current value of the      Current value of the
                                                                Debtor 1 and Debtor 2 only                            entire property?          portion you own?
         Other information:                                     At least one of the debtors and another
         1980 Scweizer 300c helocopter-                         Check if this is community property                         $20,000.00                   $20,000.00
         non-operational (property of                                (see instructions)

         SRT, LLC)

  4.2    Make:       Cessna                                    Who has an interest in the property? Check one
                                                                                                                       Do not deduct secured claims or exemptions. Put
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:      172N                                       Debtor 1 only                                         Creditors Who Have Claims Secured by Property.
         Year:       1979                                       Debtor 2 only                                         Current value of the      Current value of the
                                                                Debtor 1 and Debtor 2 only                            entire property?          portion you own?
         Other information:                                     At least one of the debtors and another
                                                                Check if this is community property                          $7,000.00                     $7,000.00
         1979 Cessna 172N airplane                                   (see instructions)




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 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>             $38,000.00


 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                 Current value of the
                                                                                                                                                   portion you own?
                                                                                                                                                   Do not deduct secured
                                                                                                                                                   claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
    No
     Yes.     Describe.....

                                    Misc. Household Goods and Furnishings with no single item
                                    valued in excess of $600                                                                                                    $1,500.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
    No
     Yes.     Describe.....

                                    Cell phones (2), TV (2); Laptop (2), Tablet (1), Xbox (1)                                                                   $1,650.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
     No
     Yes. Describe.....
9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
    No
     Yes.     Describe.....

                                    1 mountain bike: $1,000
                                    2nd mountain bike: $1,500
                                    2 BMX bikes: worth $2,000 each
                                    Wife's bike: $450                                                                                                           $6,950.00


10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
     No
     Yes. Describe.....
11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
    No
     Yes.     Describe.....

                                    Misc. wearing apparel and accessories with no single item valued
                                    in excess of $600.00                                                                                                        $1,000.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
    No
     Yes.     Describe.....



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                                            Gold wedding band and woman's wedding ring with 1/2 carat
                                            diamond                                                                                                                  $1,500.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
    No
     Yes.       Describe.....

                                            3 cats and 2 dogs- AKC registered German Shepherds                                                                             $0.00


14. Any other personal and household items you did not already list, including any health aids you did not list
     No
     Yes. Give specific information.....

 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                                         $12,600.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                            Current value of the
                                                                                                                                                        portion you own?
                                                                                                                                                        Do not deduct secured
                                                                                                                                                        claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
    No
     Yes................................................................................................................
                                                                                                                               Cash                                    $100.00


17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
    No
    Yes........................                                     Institution name:


                                              17.1.       Savings                                San Diego Fire Credit Union                                         $5,000.00



                                              17.2.       Checking                               San Diego Fire Credit Union                                         $4,230.00

                                                                            Business Account SRT, Citizen Business
                                                                            Bank; containing proceeds from flood claim
                                              17.3.       Business checking to be used to pay contractors                                                          $39,000.00



                                              17.4.       Savings                                Citibank                                                              $100.00



                                              17.5.                                              San Diego Fire Credit Union                                         $1,000.00




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18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
    No
    Yes..................        Institution or issuer name:


                                              Harley Davidson stock worth $4000                                                                   $4,000.00


19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
    No
     Yes.     Give specific information about them...................
                                     Name of entity:                                                        % of ownership:

                                          SRT, LLC. Assets include the separately listed
                                          helicoptor and a claim for $200,000 owed from
                                          U.S. government from Air Ambulance Company.
                                          Case has not been filed. No suit. Preparing to
                                          file. U.S. is not paying because the contract is
                                          protested.                                                             100          %                   Unknown


20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
     No
     Yes. Give specific information about them
                                          Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
    No
     Yes. List each account separately.
                                       Type of account:                  Institution name:

                                       CalPers and STRS                  CalPers retirement owed to Debtor is $4,500
                                                                         and STRS retirement of wife is $60,000                                 $64,500.00


                                       TIAA/CREF                         TIAA/CREF retirement with Univ. of North
                                                                         Dakota                                                                   $3,800.00


22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
     No
     Yes. .....................                                         Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
     No
     Yes.............             Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
    No
    Yes.............    Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):


                                   Educational IRA for benefit of children                                                                        $1,700.00


25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
     No
     Yes. Give specific information about them...
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26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
     No
     Yes. Give specific information about them...
27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
    No
     Yes.     Give specific information about them...

                                              Commercial Pilot certified through FAA
                                              Certified Flight Instructor cert. through FAA
                                              Califorinia State Marshall firefighter I, and II, company officer,
                                              reserve specialist
                                              Comercial Driver's license state of CA                                                                  $0.00


 Money or property owed to you?                                                                                                    Current value of the
                                                                                                                                   portion you own?
                                                                                                                                   Do not deduct secured
                                                                                                                                   claims or exemptions.

28. Tax refunds owed to you
    No
     Yes. Give specific information about them, including whether you already filed the returns and the tax years.......

                                                         Needs to file 2017 and 2018-possible
                                                            small refunds                                    Federal and state                  Unknown


29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
     No
     Yes. Give specific information......

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
    No
     Yes.     Give specific information..

                                                      $20,000 deferred salary to be earned after 11/2019 if Debtor
                                                      finishes 1 year contract in Saudi Arabia                                                  Unknown


                                                      Money owed by California Bank & Trust on closed account                                   $8,000.00


                                                      Claim for malpractice and fraud against Beverly Shaleneck
                                                      for unconscionable fee-no suit filed yet                                                  Unknown


                                                      Claim for malpractice against VanderMay law firm-no suit
                                                      filed yet                                                                                 Unknown


31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
    No
     Yes. Name the insurance company of each policy and list its value.
                                         Company name:                                        Beneficiary:                          Surrender or refund
                                                                                                                                    value:

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                                             2 term life insurance policies with no
                                             cash surrender value                                                     Debtor's family                                              $0.00


32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
     No
     Yes. Give specific information..

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
    No
     Yes.      Describe each claim.........

                                                          Individual claim against SRT, Inc. for unpaid compensation,
                                                          which is conditional upon payment to SRT from United
                                                          States Government; face amount is $200,000                                                                         Unknown


                                                          California State Board of Equalization- Debtor claims that
                                                          State Board misappropriated $9000 and he did not owe any
                                                          money. Debtor is pursuing that claim through their appeal
                                                          process.                                                                                                           $9,000.00


34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
     No
     Yes. Describe each claim.........
35. Any financial assets you did not already list
     No
     Yes. Give specific information..

 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................           $140,430.00


 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
    No. Go to Part 6.
    Yes.     Go to line 38.



 Part 6:   Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
           If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
       No. Go to Part 7.
       Yes.     Go to line 47.


 Part 7:         Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
     No
     Yes. Give specific information.........

 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                     $0.00

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 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................              $980,500.00
 56. Part 2: Total vehicles, line 5                                                                          $38,000.00
 57. Part 3: Total personal and household items, line 15                                                     $12,600.00
 58. Part 4: Total financial assets, line 36                                                                $140,430.00
 59. Part 5: Total business-related property, line 45                                                             $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                    $0.00
 61. Part 7: Total other property not listed, line 54                                             +               $0.00

 62. Total personal property. Add lines 56 through 61...                                                    $191,030.00               Copy personal property total          $191,030.00

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                      $1,171,530.00




Official Form 106A/B                                                               Schedule A/B: Property                                                                            page 9
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